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 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     IOSIF CAZA
 7
 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       )      No. 2:06-CR-0058 FCD
                                     )
14                  Plaintiff,       )      STIPULATION AND ORDER
                                     )      CONTINUING FORFEITURE TRIAL
15        v.                         )      CONFIRMATION HEARING
                                     )
16   JAGPRIT SINGH SEKHON et al.,    )
                                     )      Date: August 24, 2009
17                  Defendants.      )      Time: 10:00 a.m.
                                     )      Judge: Hon. Frank C. Damrell, Jr.
18   _______________________________ )
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20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendants Jagdip Sekhon and Iosif Caza, that the August
22   24, 2009, trial confirmation hearing (concerning the forfeiture trial
23   scheduled for September 11, 2009) may be continued one week to August 31,
24   2009, at 10:00 a.m.
25        Counsel for Mr. Caza and the government would like to resolve the
26   pending forfeiture without trial but are awaiting the outcome of a real
27   estate appraisal of property owned by Mr. Caza.       Word of the appraisal is
28   expected next week.    Mr. Caza and Jagdip Sekhon are the only defendants
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 1   remaining involved in the pending forfeiture count, and counsel for both
 2   defendants concur in the request to continue the TCH one week.
 3
 4                                             Respectfully submitted,
 5                                             DANIEL J. BRODERICK
                                               Federal Defender
 6
 7   Dated:     August 20, 2009                /s/ T. Zindel
                                               TIMOTHY ZINDEL
 8                                             Assistant Federal Defender
                                               Attorney for IOSIF CAZA
 9
10   Dated:     August 20, 2009                /s/ T. Zindel for D. Dratman
                                               DAVID W. DRATMAN
11                                             Attorney for Jagdip Sekhon
12                                             LAWRENCE BROWN
                                               United States Attorney
13
14   Dated:     August 20, 2009                /s/ T. Zindel for C. Skipper
                                               CAMIL SKIPPER
15                                             Assistant U.S. Attorney
16
17        IT IS SO ORDERED.
18   Dated: August 20, 2009
19                                        _______________________________________
20                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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